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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      Case No.: 21-cr-00028-APM
       v.                                     :
                                              :
THOMAS EDWARD CALDWELL                        :
DONOVAN RAY CROWL                             :
JESSICA MARIE WATKINS                         :
               DEFENDANT(s)                   :



                                 NOTICE OF APPEARANCE

       The United States, by and through its attorney, the United States Attorney for the

District of Columbia, hereby informs the Court that Assistant United States Attorney Ahmed M.

Baset is entering his appearance in the above-captioned matter as counsel for the United States.




                                                     Respectfully submitted,

DATED: February 3, 2021                              MICHAEL R. SHERWIN
                                                     Acting United States Attorney
                                                     N.Y. Bar No. 4444188

                                              By:     _______________________
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